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   From: Christopher Moale <captainkris1@yahoo.com>
   Sent: Tuesday, October 22, 2019 8:35 AM
   To: Moogan, Chris <Chris.Moogan@Chubb.com>
   Subject: [EXTERNAL] Maintenance and Cure

   Dear Sirs,



   I again demand payment of my benefits under the Maintenance and Cure doctrine at U.S. $55 per
   day as accrued from the date of my accident. I am now scheduling my shoulder surgery and will
   keep you advised of my progress.



   My shoulder surgery is scheduled for November 9 2019



   Very truly yours,



   Chris Moale

   Captain Chris Moale

   Sent from my iPhone
